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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

PATRICK BEDFORD AND EACH
OF THE INDIVIDUALS LISTED
ON EXHIBIT A,

Plaintiffs,
VS,
CLA. No.
BP p..c.; BP EXPLORATION AND
PRODUCTION, INC.; BP AMERICA
PRODUCTION COMPANY; TRANSOCEAN
LTD.; TRANSOCEAN HOLDINGS, LLC;
TRANSOCEAN OFFSHORE DEEPWATER
DRILLING, INC.; TRANSOCEAN
DEEPWATER, INC.; TRITON ASSET
LEASING GmbH; ANADARKO
PETROLEUM CORPORATION CoO.;
ANADARKO E&P COMPANY LP and
MOEX OFFSHORE 2007 LLC

JURY TRIAL DEMANDED

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Defendants

COMPLAINT

Plaintiff Patrick Bedford, and all individuals named in Exhibit A attached hereto, file this
Complaint against Defendants BP p.l.c. (“BP plc”), BP EXPLORATION AND
PRODUCTION, INC. (“BP Exploration”), BP AMERICA PRODUCTION COMPANY (“BP
America”), TRANSOCEAN LTD. (“Transocean Ltd.”), TRANSOCEAN HOLDINGS, LLC
(“Transocean Holdings”), TRANSOCEAN OFFSHORE DEEPWATER DRILLING, INC.
(“Transocean Offshore”), TRANSOCEAN DEEPWATER, INC. (“Transocean Deepwater’),
TRITON ASSET LEASING GmbH (“Triton”), ANADARKO PETROLEUM CORPORATION

CO. (“Anadarko”), ANADARKO E&P COMPANY LP (“Anadarko E&P”) and MOEX
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OFFSHORE 2007 LLC (“MOEX Offshore”). BP Exploration, BP America, and BP p.l.c. are
collectively referred to herein as “BP.” Defendants Transocean Ltd., Transocean Deepwater,
Transocean Offshore, Transocean Holdings, and Triton are collectively referred to herein as
“Transocean.” Defendants Anadarko and Anadarko E&P are collectively referred to herein
as the “Anadarko Defendants.”

INTRODUCTION

On April 20, 2010, a well blowout on the vessel Deepwater Horizon (“Deepwater
Horizon”) in the Gulf of Mexico marked the beginning of what would become the most
pervasive and devastating environmental disaster in the history of the United States. The
blowout and subsequent explosions, fire and sinking of the vessel resulted in an oil spill of
unprecedented proportions that damaged, depleted and destroyed marine, estuarine, and coastal
environments in the Gulf of Mexico, including those along the Gulf coast areas of Louisiana,
Mississippi, Alabama, Texas, and Florida (the “Spill”). Although the blown out well is now
capped, the disastrous environmental and economic effects of the Spill are widespread and will
likely remain so for decades.

Each day during the Spill, tens of thousands of barrels of crude oil gushed from the
wellhead and broken riser. Some of that oil found its way to the surface and formed a visible
oil slick, while other oil spread out below the water’s surface. At times, the surface
oil slick covered tens of thousands of square miles, spreading towards and along the coastlines
of the Gulf coast states. The oil that stayed below the surface — combined with chemical
dispersants — worked its way through the entire water column and came to rest on the seafloor at
many different depths, damaging ecosystems throughout the Gulf of Mexico. Both the surface

and subsurface oil, and the chemical dispersants used to break up spilled oil, damaged marine
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life in the Gulf of Mexico itself (the “Gulf of Mexico”), as well as in salt water bays, estuaries,
other types of inlets and other bodies of water that extend to or mix with the Gulf of Mexico
along the coasts of Louisiana, Mississippi, Alabama, Texas, and Florida (“Coastal Zone”).

BP, Transocean, the Anadarko Defendants and MOEX Offshore could have prevented
this catastrophe by (1) using the best deep water drilling practices then available, (2) following
required safety protocols and precautionary procedures, (3) properly maintaining equipment,
and (4) using widely available emergency safety technology. But, with little regard for safety
and the risk to the environment, BP, Transocean, the Anadarko Defendants and MOEX
Offshore chose to repeatedly ignore critical and widely accepted operational disciplines to save
money and time. BP’s and Transocean’s cost-cutting measures are properly described as
outrageous — consistent with their long corporate histories of flagrant disregard for safety ~
and taken with willful, wanton, and reckless indifference to the disastrous results to the
environment and Plaintiffs.

The Spill caused, and continues to cause, devastating environmental and economic
damage. For example, thousands of square miles of waters were closed to fishing, swimming
and/or boating, and thousands of square miles of coastal marshes, delicate estuaries, cypress
forests, barrier islands, and white sand beaches were compromised. Fishermen and others, who
then relied on and continue to rely on seafood from the Gulf of Mexico for subsistence, have -
throughout the Gulf Coast ~ suffered losses and damages.

Plaintiffs bring this action to recover for subsistence losses pursuant to the Oil
Pollution Act of 1990, 33 U.S.C. §§ 2701-2719 (the “OPA.”) and other damages arising out of
the Spill. Plaintiffs are individuals who harvest fish, shrimp, crabs, oysters and other natural

resources from the Gulf of Mexico for personal consumption, for consumption by their families
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and friends, for gifts to and for the subsistence of others and, in some cases, for bartering. Some
of the Plaintiffs are also recreational boaters, divers, swimmers and snorkelers that lost the use
and enjoyment of the Gulf of Mexico waters as a result of the Deepwater Horizon Oil Spill.

Both BP Exploration and Transocean Holdings have been determined to be “responsible
parties” under the OPA by the United States Coast Guard. Anadarko was designated as a
“responsible party” under the OPA by the United States District Court for the Eastern District of
Louisiana on February 22, 2012. Therefore, defendants BP Exploration, Transocean Holdings
and Anadarko, if not all defendants, are strictly liable for Plaintiffs’ damages. Moreover, the
OPA liability limits do not apply to this lawsuit because, among other reasons: (1) Plaintiffs’
damages were proximately caused by the gross negligence or willful misconduct of defendants,
(2) Plaintiffs’ damages were proximately caused by defendants’ violation of an applicable
Federal safety, construction, or operation regulation, and (3) BP failed to accurately or timely
report the incident or provide reasonable, timely and accurate cooperation and assistance.

This Complaint does not constitute a waiver of Plaintiffs’ rights to add or assert, or seek
leave to add or assert, additional claims, or name additional party defendants, depending on
further information learned through discovery or investigation.

Plaintiffs believe that this action is subject to the August 10, 2010 order of the Multi-
district Litigation Panel (the “MDL Panel”) which transfers actions such as this on to the United
States District Court for the Eastern District of Louisiana. See In re Oil Spill by the Oil Rig
“Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010, MDL No. 2179, 731 F.

Supp. 2d 1352, 2010 WL 3166434 (JPML, August 10, 2010) (the “Transfer Order”).
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PARTIES

Plaintiff Patrick Bedford is an adult resident citizen of Texas. At the time of the

Spill, Plaintiff regularly harvested natural resources for subsistence from the Gulf of Mexico off
the shore of the State of Texas, as well as salt water bodies that connect to the Gulf of Mexico
that were also affected by the Spill. The Plaintiffs listed in Exhibit A reside in Alabama,
Florida, Louisiana, Mississippi or Texas. Each of the Plaintiffs regularly harvested natural
resources for subsistence from (1) the Gulf of Mexico, (2) in and around the Coastal Zone and/or
(3) other salt water bodies that connect to the Gulf of Mexico that were also affected by the Spill.
Defendant BP p.l.c. is a publicly traded company, incorporated under the laws of England

and Wales. BP common shares are listed on the London Stock Exchange and BP American
Depository Shares are listed on the New York Stock Exchange. Investors in the U.S. own about
40% of BP’s outstanding common stock (as do investors in the U.K., with the remainder spread
out in other countries). BP files consolidated financial statements which include BP’s operating
subsidiaries. BP’s largest operations, through its wholly-owned and controlled operating
subsidiary BP America, Inc. (“BP America”), are in the U.S, During the past ten years, BP’s
Board had at least fourteen meetings in the U.S. BP is the largest oil and gas producer in the
U.S. and the nation’s second largest gasoline retailer (through 11,500 service stations throughout
the U.S.). BP has approximately 23,000 employees in the U.S., with the majority located in
Texas. Defendant BP p.l.c. has done and is doing business in the State of Texas, and throughout
the United States. Defendant BP p.l.c. does business in this judicial district, directly and/or
indirectly. Defendant BP p.1.c. maintains a corporate office in the United States at 501 Westlake
Park Boulevard in Houston, Texas. Defendant BP p.|.c., may be served with citation by serving

any of its directors or officers, at 1 St. James’s Square, London, United Kingdom SW1 4PD.
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Defendant BP Exploration & Production, Inc. is a Delaware corporation with its principal
place of business in Warrenville, Illinois. BP Exploration was a lease holder and the designated
operator in the lease granted by the former Minerals Management Service (“MMS”) — which is
now known as the Bureau of Ocean Energy Management — allowing it to perform oil
exploration, drilling, and production-related operations in Mississippi Canyon Block 252, the
location known as “Macondo,” where the Deepwater Horizon Oil Spill originated. BP
Exploration was designated as a “Responsible Party” by the U.S. Coast Guard under the Oil
Pollution of 1990, 33 U.S.C. § 2714. This court has personal jurisdiction over BP Exploration,
because BP Exploration is registered to do business in Texas, does business in Texas and has a
registered agent in Texas. BP Exploration can be served process by serving its registered
agent, CT Corporation System, 350 North St. Paul Street, Dallas, TX 75201-4234.

Defendant BP America Production Company is a Delaware corporation with its principal
place of business in Houston, Texas. BP America wasa party to the Drilling Contract
with Transocean Ltd. for the drilling of the Macondo well by the Deepwater Horizon vessel.
This court has personal jurisdiction over BP America, because BP America is registered to do
business in Texas, does business in Texas and has a registered agent in Texas. BP America can
be served process by serving its registered agent, CT Corporation System, 350 North St. Paul
Street, Dallas, TX 75201-4234.

BP Exploration, BP America, and BP p.l.c. are generally referred to herein collectively as
“BP.” As lease operator of the Macondo prospect site, BP was responsible for assessing the
geology of the prospect site, engineering the well design, obtaining regulatory approvals for
well operations, and retaining and overseeing the contractors working on the various

aspects of the well and the drilling operations.
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Defendant Transocean Ltd. is a Swiss Corporation. Defendant Transocean Ltd. is an
owner, managing owner, owner pro hae vice, and/or operator of the Deepwater Horizon and
participated in the Deepwater Horizon’s offshore oil drilling operations at the Macondo prospect
where the Oil Spill originated. This Defendant has done and is doing business in the State of
Texas and throughout the United States. This Defendant does business in this judicial district,
directly and/or indirectly. Defendant Transocean Ltd. may be served with citation by serving
any of its officers or directors at 4 Greenway Plaza, Houston, Texas 77046.

Defendant Transocean Holdings, LLC is a Delaware corporation with its principal place
of business in Houston, Texas. Transocean Holdings is an owner, managing owner, owner pro
hae vice, and/or operator of the Deepwater Horizon and participated in the Deepwater Horizon’s
offshore oil drilling operations at the Macondo prospect, where the Deepwater Horizon Oil Spill
originated. Indeed, Transocean Holdings is a party to the contract with BP regarding the lease
of the Deepwater Horizon for drilling operations in the Gulf of Mexico. On April 28, 2010,
the U.S. Coast Guard named Transocean Holdings as a “Responsible Party” under the Oil
Pollution Act for the surface oil spifl resulting from the blowout by the Deepwater Horizon.
Transocean Holdings does business in Texas and can be served process by serving its registered
agent, Capitol Corporate Services, Inc., 800 Brazos, Suite 400, Austin, TX 78701.

Defendant Transocean Offshore Deepwater Drilling, Inc. is a Delaware corporation with
its principal place of business in Houston, Texas. Transocean Offshore is affiliated with
Transocean Ltd. and was an owner, managing owner, owner pro hac vice, and/or operator of the
Deepwater Horizon. This court has personal jurisdiction over Transocean Offshore, because
Transocean Offshore is registered to do business in Texas, does business in Texas and has a
registered agent in Texas. Transocean Offshore can be served process by serving its registered
agent, Capitol Corporate Services, Inc., 800 Brazos, Suite 400, Austin, TX 78701

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Defendant Transocean Deepwater, Inc. is a Delaware corporation with its principal place
of business in Houston, Texas. At all pertinent times, Transocean Deepwater was doing business
in the State of Louisiana and within this district. This court has personal jurisdiction over
Transocean Deepwater, because Transocean Deepwater is registered to do business in Texas,
does business in Texas and has a registered agent in Texas. Transocean Deepwater can be
served process by serving its registered agent, Capitol Corporate Services, Inc., 800 Brazos,
Suite 400, Austin, TX 78701

Defendant Triton Asset Leasing GmbH is a Swiss limited liability company with its
principal place of business in Zug, Switzerland. Triton is affiliated with Transocean Ltd. and is
an owner, managing owner, owner pro hac vice, and/or operator of the Deepwater Horizon and
participated in the Deepwater Horizon’s offshore oil drilling operations at the Macondo prospect
where the Oil Spill originated. Triton has done and is doing business in the State of Texas and
throughout the United States. Triton does business in this judicial district, directly and/or
indirectly. Triton may be served with citation by serving any of its officers or directors at
Turmstrasse 30, Zug, 6300, Switzerland.

Defendants Transocean Ltd., Transocean Deepwater, Transocean Offshore, Transocean
Holdings, and Triton are hereinafter referred to collectively as “Transocean.” At the Macondo
site, Transocean provided the Deepwater Horizon vessel and personnel to operate it. At all
times relevant to the Spill, Transocean ~ subject to BP’s inspection and approval — was
responsible for maintaining well control equipment, such as the blowout preventer and its
control systems. Transocean also provided operational support for drilling-related activities on
board the Deepwater Horizon, as well as onshore supervision and support for those drilling

activities, at all times relevant to the Spill.
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Defendant Anadarko Petroleum Corporation Co. is a Delaware corporation with its
principal place of business in The Woodlands, Texas. Anadarko is registered to do and does
business in the State of Texas. Anadarko is an oil and gas exploration and production company.
At all relevant times, Anadarko was a party to the Macondo Prospect Offshore Deepwater
Operating Agreement (“Operating Agreement”), and held a 2.5% ownership interest in the
lease of the Macondo Prospect site in Mississippi Canyon Block 252 in the Gulf of
Mexico. This court has personal jurisdiction over Anadarko, because Anadarko is registered to
do business in Texas, does business in Texas and has a registered agent in Texas. Anadarko can
be served process by serving its registered agent, CT Corporation System, 350 N. St. Paul
St., Ste. 2900, Dallas, TX 75201-4234.

Defendant Anadarko E&P Company LP is a Delaware limited partnership with its
principal place of business in The Woodlands, Texas. Anadarko E&P is registered to do and
does business in the State of Texas. Anadarko E&P is an oil and gas exploration and
production company. At all relevant times, Anadarko E&P was a party to the Operating
Agreement, and held a 22.5% ownership interest in the lease of the Macondo Prospect site in the
Mississippi Canyon Block 252 in the Gulf of Mexico. This court has personal jurisdiction over
Anadarko E&P, because Anadarko E&P is registered to do business in Texas, does business in
Texas and has a registered agent in Texas. Anadarko E&P can be served process by serving its
registered agent, CT Corporation System, 350 N. St. Paul St., Ste. 2900, Dallas, TX 75201-
4234.

Defendants Anadarko and Anadarko E&P are collectively referred to herein as the
“Anadarko Defendants.”

Defendant MOEX Offshore 2007 LLC is a Delaware corporation with its principal place

of business in Houston, Texas. At all relevant times, MOEX Offshore was a party to the
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Operating Agreement, and held a 10% ownership interest in the lease of the Macondo
Prospect site in the Mississippi Canyon Block 252 in the Gulf of Mexico. This court has
personal jurisdiction over MOEX Offshore, because MOEX Offshore is registered to do business
in Texas, does business in Texas and has a registered agent in Texas. MOEX Offshore can be
served process by serving its registered agent, Naoki Ishii, 9 Greenway Plaza, Suite 1220,
Houston, TX 77046.

DICTIE ENUE

This Court has jurisdiction over this action pursuant to the Oil Pollution Act, 33 U.S.C. §
2717 (b) (the “OPA”).

Venue in this Court is proper under the Oil Pollution Act, 33 U.S.C. § 1017(b). Venue in
this Court is also proper under 28 U.S.C. § 1391 (a) and 28 U.S.C. § 1391(b).

FA E

A. The Overview

On April 20, 2010, highly pressurized hydrocarbons leaked into the Deepwater
Horizon subsea oil well. The Deepwater Horizon’s emergency equipment failed to
stop the oil and gas from blowing out of the well. The blow out caused an explosion that led to
a fire and the eventual sinking of the Deepwater Horizon vessel. A massive oil spill resulted that
has damaged Plaintiffs.

The blowout was due, in part, to the failure of mechanical and cement barriers to seal off
the well against the influx of highly pressurized hydrocarbons. The numerous indications that
hydrocarbons were leaking into the well were apparently misinterpreted or overlooked by
Deepwater Horizon workers for a significant period of time prior to the blowout. Once the

hydrocarbons reached the vessel’s deck, the fire and gas prevention and alarm systems on the

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Deepwater Horizon failed to warn the crew and prevent a fire. The Deepwater Horizon’s
blow out preventer (“BOP”) also failed to seal the well and stop the flow of hydrocarbons
exacerbating the disaster.

Millions of barrels of oil and gas leaked into the Gulf of Mexico from the damaged well
over the following three months doing immense and long-lasting damage to the environment in
and around the Gulf of Mexico, and to the Plaintiffs. Meanwhile, BP downplayed the severity
of the Spill. BP was unprepared for the massive clean-up effort required.

B. How Deepwater Offshore Drilling Works

Deepwater offshore drilling for oil and natural gas is a complex, technical process.
The first challenge is to find geological formations that likely contain trapped hydrocarbons.
Once a promising trap is located, drilling vessels such as the Deepwater Horizon are positioned
on the sea surface to drill an exploratory well. If the exploratory well successfully taps into a
worthwhile source of hydrocarbons, the drilling vessel is transformed into a production well that
will extract oil or gas from the trap. Before a production well is set up, successful exploratory
wells are sometitnes sealed with cement and temporarily abandoned in a fashion that allows
them to be reopened by a production vessel at a later date when the well owner is ready to
begin extracting hydrocarbons for production. At the time of the April 20, 2010 blowout, the
Deepwater Horizon crew was in the process of preparing the Macondo well for temporary
abandonment.

An exploratory well begins with a pilot hole drilled into the seabed. The pilot hole
is then lined with pipe or “cased.” The first section of casing pipe lowered into the pilot hole
anchors a safety device known as a blowout preventer (“BOP”). The BOP is an assembly of

hydraulically-operated rams that can be used to partially or totally seal the well during both

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routine drilling activities and well control emergencies. For example, the BOP can prevent a
“kick” — which is a small leak of hydrocarbons into the well — from escalating into an
uncontrolled release of hydrocarbons into the surrounding environment. The BOP can be
activated manually from the drilling vessel, or automatically through an automatic mode
function (“AMF”) known as a “deadman switch.” The deadman switch closes the BOP’s most
secure rams when both the electrical and hydraulic connections from the drilling vessel are
severed.

A blowout risk is one of the most dangerous and common deep water drilling risks.
The reservoirs of hydrocarbons trapped in the rock formations beneath the sea floor are often
highly pressurized, and managing the pressures is a vital task during drilling operations.
Proper well monitoring typically catches small hydrocarbon influxes early, so a kick can be
contained and a leak repaired before well control is jeopardized.

Once the BOP is properly positioned and secured over the pilot hole, the drilling
apparatus and additional casing sections are lowered down through the BOP into the well. A
pipe called a “marine riser” connects the wellhead to the drilling vessel at the surface.

As the drilling apparatus moves downward drilling out the well bore hole, drilling fluid
called “mud” is pumped down the center of the drill pipe. Drilling mud is a thick mixture of
barite, water, clay, and chemicals that cools and lubricates the drill bit and suspends and
carries rock fragments and other drilling debris to the surface as the mud circulates.

Drilling mud is carefully formulated so that its hydrostatic pressure slightly exceeds
that of the ambient pressure conditions in the various rock formations encountered during

the drilling process. The weight of the mud pushes back against the pressure of the

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hydrocarbons in those formations helping to control against the ever-present risk of kicks and
blowouts in the well.

As the well bore is drilled, additional sections of casing are added to line each
newly-drilled open section with pipe. Each casing section is secured with a cement plug.
When temporary well abandonment is planned, a contractor seals the well off before the
drilling reaches the hydrocarbon reservoir to isolate the oil and gas and to prevent it from
leaking into the well. A cement plug is then placed below the BOP at the top of the weil. The
drilling vessel can then disconnect from a stabilized well until a permanent oil production
platform is put into place to begin extracting oil or gas.

C. The Macondo Lease, BP’s Exploration Plan and the Operating Agreement

On June 1, 2008, BP acquired a ten-year lease from the MMS to search for and extract
hydrocarbons from the Macondo prospect site in Mississippi Canyon Block 252, 48 miles off
the coast of Louisiana. Before BP began operations at the Macondo site, federal regulations
required BP to submit an Exploration Plan (“EP”) showing that (1) it planned and prepared to
conduct its activities in a safe manner, (2) its plan conformed to applicable regulations and
sound conservation practices, and (3) it would not cause undue or serious harm or damage to
human or marine health, or the coastal environment. 30 C.F.R. §§ 250.201, 250.202.

Federal regulations required that the EP be accompanied by “oil and hazardous
substance spills information” and “environmental impact analysis information.” 30 C.F.R. §§
250.212, 250.219, 250.227.

Among other things, the EP was required to contain a “blowout scenario,” that met
the following:

A scenario for the potential blowout of the proposed well in your EP that you
expect will have the highest volume of liquid hydrocarbons. Include the

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estimated flow rate, total volume, and maximum duration of the potential
blowout. Also, discuss the potential for the well to bridge over, the likelihood
for surface intervention to stop the blowout, the availability of a rig to drill a
relief well, and rig package constraints. Estimate the time it would take to drill
a relief well.

30 C.F.R. § 250.213 (g).

The oil and hazardous spills information accompanying the EP was required to
include an oil spill response plan providing the calculated volume of BP’s:

worst case discharge scenario (see 30 C.F.R. 254,26(a)), and a comparison of

the appropriate worst case discharge scenario in [its] approved regional [Oil

Spill Response Plan] with the worst case discharge scenario that could result

from [its] proposed exploration activities; and a description of the worst case

discharge scenario that could result from [its] proposed exploration activities

(see 30 C.F.R. 254.26(b), (c), (d), and (e)).

30 C.F.R. § 250.219.

Federal regulations required BP to conduct all of its lease and unit activities according to
its approved EP, or suffer civil penalties or the forfeiture or cancellation of its lease. 30 C.F.R.
§ 250.280.

In February 2009, BP filed its initial EP for the Macondo prospect site with the MMS.
In the EP, BP repeatedly asserted that it was “unlikely that an accidental surface or subsurface
oil spill would occur from the proposed activities.” BP predicted that ~ in the unlikely event
that a spill did occur — a worst case discharge scenario of 162,000 gallons of oil per day would
occur — an amount it claimed it was prepared to handle. BP also claimed the well’s distance
from the nearest shoreline would preclude any significant adverse impacts from a spill.

In response to these assurances, the MMS approved BP’s Initial EP for the Macondo
prospect on April 6, 2009, including the approval of a “categorical exclusion” from the
full environmental analysis normally required under the National Environmental Policy Act.

As detailed more fully below, the MMS’ approval of BP’s Initial EP and the categorical

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exclusion from environmental analysis were predicated on BP’s flagrant misrepresentations
about the risk of a surface or subsurface oil spill at Macondo, and its capability to respond to
such a spill. BP then obtained a permit from the MMS authorizing it to drill up to a total depth
of 19,650 feet at the Macondo site.

Once the EP and drilling permits for Macondo were approved, BP entered into the
Operating Agreement with the Anadarko Defendants and MOEX Offshore. The Operating
Agreement defined the roles and responsibilities of the three joint Lease holders and provided
that the Anadarko Defendants and MOEX Offshore were to receive significant information
from BP and that the Anadarko Defendants and MOEX Offshore had the right to demand
information, meetings and conduct its own inspections of the Deepwater Horizon vessel.

As a condition to acquiring their leasehold interests in the Macondo prospect, the
Anadarko Defendants and MOEX Offshore executed BP’s well plan and Authorizations for
Expenditure (AFEs) for Macondo putting the Anadarko Defendants and MOEX Offshore on
notice of: (1) the well location; (2) the anticipated time necessary to conclude the operation;
(3) total depth and target zones; (4) the proposed drilling and completion plans, including the
casing program and directional details; (5) details of all coring, logging, and other evaluation
operations conducted; and (6) information about the drilling rig to be used. The AFEs also
informed the Anadarko Defendants and MOEX Offshore about the financial aspects of the well
plan.

The Operating Agreement granted the Anadarko Defendants and MOEX Offshore (1)
the right to suggest its own proposed well plan for drilling exploratory and appraisal wells
within the Macondo prospect, (2) to place their own personnel on key drilling and well

development teams, (3) to receive substantial information and data about operations (including

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real-time well data) on an ongoing basis, (4) to call meetings with BP and other parties
regarding any aspect of the Macondo prospect, and (5) the right of unanimous approval of all
press releases regarding the prospect.

Moreover, a November 2009 amendment to the Operating Agreement gave the Anadarko
Defendants and MOEX Offshore the right to conduct “health, safety, and environmental
inspection[s]” with a “right of access to activities and operations” on the rig, as well as to
access BP’s files, audits, and statistics on health, safety, and environmental issues.

D. The Deepwater Horizon’s Poor Safety and Maintenance Record

The Deepwater Horizon — which was owned by Transocean and leased to BP for drilling
exploratory wells at the Macondo prospect site — was initially put into service in February 2001.
Prior to the Spill, BP and Transocean had actual and/or constructive knowledge that their
safety performance during offshore drilling operations was poor. Also prior to the Spill, BP and
Transocean had actual and/or constructive knowledge of significant problems related to the
Deepwater Horizon’s equipment and maintenance, including problems with the vessel’s BOP,
electronic alarm systems, ballast systems used to stabilize the vessel in the water, and other
significant deficiencies.

E. The Troublesome Nature Of The Macondo Well

The Macondo prospect site is in the Northern Guif of Mexico, an area notorious in the
industry for high temperature, high pressure, highly gaseous hydrocarbon reservoirs trapped in
weak and brittle rock formations. At the Macondo site, the Deepwater Horizon was conducting
drilling operations in excess of 18,000 feet. BP knew or should have known that the threat
of blowouts increases as drilling depths increase, especially in an area with such troublesome

geology as the Northern Gulf of Mexico.

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BP had already had significant problems with the Macondo well before April 20, 2010.

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Well before the blowout, BP employees had referred to Macondo as a “crazy,” “nightmare”
well. At depths almost 3.5 miles below the sea floor, the pressures and strengths of the various
formation layers the Deepwater Horizon was drilling through varied widely and changed often,
requiring constant adjustments to drilling fluid density and other factors. In some places the
subsea rock formations were so brittle that they fractured, letting gallons of expensive
drilling mud escape into the cracked and porous rock around the drill.

Deepwater Horizon workers reported that since drilling began on October 7, 2009, they
had struggled to control the problematic well, as kicks of natural gas regularly burst into the
well, halting the drilling progress. According to a NOAA Flow Rate Technical Group report,
the hydrocarbon reservoirs the Macondo well drilled through have high ratios of gas to oil.
The MMS had even warned BP that the gas build-up in this well was a concern and that BP
should “exercise caution.”

As the drilling schedule fell behind due to these and other problems, BP increased
the pressure on the Deepwater Horizon’s crew to speed up the drilling effort at Macondo. The
pressure continued even after BP experienced serious problems with the well on March 8,
2010, including a hydrocarbon influx into the well and loss of well control. The
hydrocarbons leaking into the well went unnoticed for over 30 minutes, allowing 40 barrels of
hydrocarbons to flow into the well before it was shut-in to restore well control. This near miss
could have been a lethal blowout.

A BP analysis of the March 8, 2010 near miss deemed the drilling vessel team’s 30-plus
minute response time to the hydrocarbon influx as too slow. A “lessons learned” document was

distributed to BP employees, and both BP and Transocean leaders on the Deepwater Horizon

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were given verbal feedback about the handling of the event. Several key individuals who were
present during the March 8, 2010 incident were also working on the Deepwater Horizon at
the time of the April 20, 2010 blowout.

The damage from the March 8, 2010, incident was so severe that BP and
Transocean was forced to abandon the lower part of the well bore, plug it with cement, and
begin drilling in a different direction, setting them back several days and $25 million. The delay
caused BP and Transocean to intensify their demands that the drilling operations be completed
at a dangerously increased pace.

Pursuant to their drilling contract, BP was paying Transocean approximately
$500,000 per day to lease the Deepwater Horizon, not including contractors’ fees. BP had
planned for the drilling work at Macondo to take 51 days, at a cost of approximately
$96,000,000. At the time of the blowout, drilling at Macondo was months behind schedule,
costing BP over $1 million per day in vessel lease and contractor fees and putting BP
increasingly over budget. During that period, BP made many decisions about the drilling plan
for economic reasons, despite those decisions increasing the risk of the catastrophic failure of
the Deepwater Horizon well. Also, during that process, BP repeatedly chose to violate industry
guidelines and government regulations, and ignore warnings from their own employees and
contractors on the Deepwater Horizon to reduce costs and save time on the behind-schedule and
over-budget Macondo well. In their rush to complete the well, BP and Transocean made
reckless decisions about well design, cementing, and well integrity testing that prioritized speed
and cost-savings over safety and industry best practices.

F. The Displacement Procedure Was Premature and Nonstandard

BP and Transocean were so focused on speed that they could not even wait the 72

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hours required for the proper setting of the cement job — installed for temporary
abandonment — before pressing forward with the mud displacement. Without the heavy
drilling mud to counter the reservoir pressure, any hydrocarbon influx into the well could
turn dangerous very quickly, with only comparatively light seawater blocking the path up
through the well and the riser to the surface.

Transocean officials initially protested BP’s mud displacement plan, but Transocean
never exercised its right to stop work on the well. Instead, Transocean acquiesced to BP’s
desire to rush the mud displacement at Macondo.

On the morning of April 20, 2010, the day of the blowout, BP informed M-I,
LLC’s (“M-I”) drilling fluid specialist Leo Lindner that the mud displacement would be more
substantial than usual, displacing the top 8,367 feet of mud in the riser and drilling string,
instead of the typical 300 feet.

Lindner calculated the atypical mud displacement plan according to BP’s specifications,
including the suspension of the displacement procedure partway through to allow for
pressure testing of Halliburton’s recently completed cement job. Lindner testified that he
distributed copies of his mud displacement plan to BP, Transocean and others on the
drilling vessel; thus Transocean and others were aware of and complicit in BP’s plan to
displace an unusually large amount of mud from the well, without the added safety of the
casing hanger lockdown sleeve, and beginning before the cement had even fully set and
been pressure tested.

G. Abandonment Continued Despite The Failure Of Key Pressure Tests

Two types of pressure tests are used to confirm the integrity of a well. The

integrity of the casing pipes and assembly is assessed with a “positive pressure” test,

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which involves increasing pressure in the casing string and observing the pressure response.
If the increase in pressure bleeds off, it indicates a problem with the pressure integrity of the
casing: the pumped-in pressure is escaping through a leak somewhere along the line.
However, if the increased pressure stays constant, it does not necessarily mean the casing
assembly is secure — the external pressure from the hydrocarbons around the weil can be
sufficient to maintain the increased pressure reading in the casing string even if there is a
breach. Thus, a negative result (where the pressure leaks off) is useful because it is clear
evidence of a leaky casing string. But a positive result (where the pressure remains constant),
does not prove a secure casing string.

On April 20, 2010, the Macondo well had a positive result to its positive pressure test,
which neither confirmed nor denied the integrity of its casing string. At around noon on April
20, 2010, after the completion of the positive pressure test, drilling vessel workers began the
mud displacement process. According to M-I’s mud displacement plan, the displacement would
proceed until the spacer fluid had been pumped down to a level 12 feet above the BOP, after
which the displacement would be suspended for the negative pressure test.

The BOP’s annular preventer was closed to seal the casing string for the negative test.
However, for some reason it did not form a secure seal. Instead, about 50 barrels of spacer fluid
was allowed to leak through the BOP and into the well. Accordingly, dense, viscous spacer
fluid was allowed into the inlets to several small-bore pipes that were to be used for the
negative pressure test, rather than the plain seawater that should have been across the pipe
inlets. BP and Transocean were aware of this spacer fluid leakage and the potential for the
viscous fluid to be blocking the small-bore pipes necessary for the negative pressure test, yet

they took no steps to remedy the situation.

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The negative pressure tests were intended to assess the security of the cement job at
the bottom of the Macondo well. With the casing string sealed, pressure was bled off from
inside the well, “under balancing” it by reducing the pressure in the casing until the external
pressure from the hydrocarbon reservoirs surrounding the well was greater than the internal
pressure within the casing itself. If the cement job had securely sealed the hydrocarbon
reservoirs off from the well, there would be little to no fluid flowing out of the well and the
pressure in the casing would remain at the reduced, underbalanced level. An increase in
pressure or flow would indicate that the cement job was not secure, and was allowing
hydrocarbons to flow into the well and re-pressurize the casing string.

BP’s and Transocean’s two negative pressure tests on the Macondo well both yielded
abnormal results. In one instance, over four times the expected fluid returns spurted out of the
well after the pressure was reduced to an underbalanced state. In the other test, the
pressure in the well increased from 50 psi to 1,400 psi — a highly diagnostic “red flag”
result indicating that the cement job had failed to seal off the well from the surrounding
hydrocarbon reservoirs. The 1,400 psi pressure response and the excess fluid returns were
indications that hydrocarbons were flowing into the well and re-pressurizing it after it had
been underbalanced for the negative pressure test. The pressure tests themselves may have
further damaged and weakened the cement in the well. Not only were the tests performed
before the cement had a full 72 hours to set completely, but contrary to common practice, the
drill string was 10,000 feet above the bottom of the well during the tests.

BP’s interpretation of the pressure tests was also not industry standard. BP admitted to
Congressional investigators that continuing work on the well after such alarming test results

may have been a fundamental mistake. In May 2010, BP admitted that these pressure test

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results were clear warning signs of a big abnormality in the well.

Later, in its September 8, 2010, disaster investigation report, BP concluded that the
negative pressure test result of 1,400 psi was misinterpreted by Transocean and BP employees
on the Deepwater Horizon, leading the vessel crew to the erroneous view that the test was a
success and well integrity had been established. Moreover, BP’s investigation found no
evidence that the drilling vessel’s workers consulted anyone outside their teams on the vessel or
onshore about the abnormal pressure reading, as they should have, before coming to their
incorrect conclusion that the well was secure. The well site leader should have called experts on
the drilling vessel or on shore to discuss the results.

In its November 16, 2010 interim report, the NAE panel wrote that “at is clear that
pressure build-up or flow out of a well is an irrefutable sign that the cement did not establish
a flow barrier” against the entry of hydrocarbons into the well. At Macondo, there was both
pressure build-up to 1400 psi and unexpected flow out of the well during the negative pressure
tests.

There was only one appropriate response to these abnormal negative pressure test
results: remedial cement work to correct the obviously-flawed cement job and shore up the seal
against the highly pressurized hydrocarbon reservoirs. BP and Transocean, however, elected
to ignore the red flag results of the only cement integrity tests they had performed, and
continued instead with their well completion plan as if the cement job had been a success.

H. An Unorthodox Spacer Fluid Process Interfered With Pressure Tests and
BOP Functionality

During the mud displacement process, BP used an unconventional fluid mixture — and
an unusually large volume of it — as “spacer” fluid. This novel composition and amount of
fluid may have interfered with the negative pressure test results and/or caused damage or

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clogging in the BOP.

In oil wells, a “spacer” is a fluid used to create a division between two other fluids,
with the spacer fluid physically preventing the two other fluids from coming into contact and
mixing with or contaminating one another. In the mud displacement process at Macondo, the
spacer was intended to separate the synthetic drilling mud from the seawater displacing it.

Spacer fluid is usually water-based mud, but according to testimony from M-I
drilling fluid specialist Leo Lindner, an uncommon mixture of fluids was used as spacer during
the Macondo well’s mud displacement process. Instead of mixing a batch of the usual
water-based mud spacer fluid, Lindner combined two “pills” of lost circulation material
(“LCM”) that had been previously prepared for use in the event of any fluid loss during the
cementing job. Unlike the water-based mud typically used as spacer, LCM pills are highly
viscous fluid that coagulates to create an extremely thick, stringy mass intended to fill the
lost circulation zone, clogging fractures in the rock so that other drilling fluids can no longer
escape into the formation. Lindner testified that it was “not common” to use LCM as a spacer,
and that he had never done so before, but that BP and Transocean employees on the
Deepwater Horizon were aware of the unorthodox LCM-based spacer and both had either
approved the use or allowed it to occur without comment.

In addition to the atypical composition of spacer used in the Macondo well, the volume
of the fluid used was also nonstandard. Lindner testified that normally a spacer is around 200
barrels of fluid, but in the Macondo well, the two LCM pills that were used as spacer had a

combined volume of 450 barrels — over twice as large.

Upon information and belief, BP and Transocean used this aberrant fluid composition

and volume as spacer in the Macondo well solely to skirt environmental regulations that would

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have required more costly and time-consuming hazardous waste disposal procedures for the two
unused LCM pills.

As discussed above, the LCM used as a spacer leaked past the annular preventer
through the BOP and into the well before the negative pressure test was run. BP’s and
Transocean’s unusual use of LCM as spacer fluid could have confounded the negative
pressure test results by blocking the small-bore pipes used for the tests, and could have

negatively affected the functionality and effectiveness of the BOP itself.

 

I. BP and Transocean Ignored Or Overlooked Warning Signs

Constantly monitoring a well for signs of hydrocarbon influx is vital for well safety. It
is common practice in the industry for employees of several companies on a drilling vessel — the
mud-logging company, the drilling contractor, and the lease operator ~ to focus on it and be
ready to take immediate remedial action.

After the litany of short-cut operational decisions BP and Transocean made to save time
and money completing the Macondo well, they should have been especially tuned into any
signs of trouble. But instead of the requisite vigilance, BP and Transocean had become
complacent in their haste to complete operations at Macondo. As a result, BP and Transocean
failed to properly monitor the well and ignored or missed an increasingly ominous series of
watnings and red flags exhibited by the well in the hours before the fatal blowout.

Pressure and flow data from the well in the two hours before the blowout should have
put BP and Transocean on notice that there was a problem and that hydrocarbons were leaking
into the well. Post-spill review of the real-time data available on the Deepwater Horizon on
April 20, 2010, showed that the first indications of hydrocarbons flowing into the well started

at 8:52 p.m., and went unnoticed by BP and Transocean. Post-spill modeling indicated that

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by 9:08 p.m., 39 barrels of hydrocarbons had leaked into the well, but BP and Transocean still
had not noticed the pressure and flow indications of the influx. It was not until 9:41 p.m. —
four minutes before the blowout ~ that BP and Transocean finally noticed that the well was
rapidly filling with hydrocarbons and that immediate well control action was needed.

At 8:52 p.m., the pumps displacing the heavy mud with seawater were slowed, but
instead of flow out of the well decreasing accordingly, as it should have, flow increased — a
clear “red flag” indicating that hydrocarbon pressure from the reservoir below was pushing the
mud out of the well faster than the seawater that was supposed to be displacing the mud
was being pumped in. Yet BP and Transocean appear to have completely ignored this first red
flag and simply carried on with the mud displacement process.

From 9:08 p.m. to 9:30 p.m. on the night of the blowout, when the mud displacement
pump was either running at constant flow or was shut off, pressure in the well steadily
increased. Modeling data from BP’s investigation of the disaster showed that at this point,
hydrocarbons were flowing into the well at about nine barrels per minute. This pressure data
also should have caused BP and Transocean to start well-kill operations to restore control over
the pressure. Instead, the increasing pressure was ignored or overlooked.

The mud displacement pumps were shut-down completely at around 9:30 p.m. By then,
hydrocarbons had been continuously flowing into the well for 38 minutes. Modeling data from
BP’s disaster investigation showed that about 300 barrels of hydrocarbons had flowed into the
well by this time. A few minutes later, at 9:38 p.m., the steadily increasing level of
hydrocarbons passed through the wide-open BOP into the riser.

Although there may have been some discussion of “differential pressure” in the well

once the mud displacement pumps were turned off, there is no other evidence that Drilling

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Defendants noticed or properly interpreted the many warning signs of the imminent
blowout until drilling mud began to spill out of the riser onto the vessel deck at 9:41 p.m.,
just four minutes before the blowout.

Inexperience may also have affected the choices and competency of the Deepwater
Horizon workers during these critical hours. In BP’s chain of command for Macondo
operations, five employees had less than five months in their respective positions. BP’s well site
leader had mostly land-based drilling experience, and admitted he was working on the
Deepwater Horizon to learn about deep water. BP also complained to Transocean that
turnover on the drilling vessel had been high, including the replacement of experienced drillers
with new hires. BP understood that further dilution of experienced personnel may be
detrimental to the performance of the rig.

Investigators for the safety review commissioned by Transocean prior to the Spill found
that a lack of hands-on experience for Transocean workers and managers contributed to safety
concerns. Transocean recognized that many workers were readily promoted without sufficient
on-the-job experience to fully appreciate the risks. Moreover, the Deepwater Horizon Study
Group found no evidence that any of the drilling vessel workers or onshore employees directly
involved with the Macondo well had formal training or qualifications in risk assessment and
management of complex systems such as were found aboard the Deepwater Horizon.

In addition to carelessness, nonchalance, or inexperience causing them to ignore or
overlook the warning signs of a blowout, it is also possible that drilling vessel workers, pushed
by BP and Transocean to work faster and combine multiple tasks during these final
completion operations, were too distracted to properly monitor the well and to notice the

alarming signs of imbalance.

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As hydrocarbons were steadily filling the well and mounting towards the riser, vessel
workers’ attention was split between mud displacement and other simultaneous tasks such as
(1) the sheen test, (2) preparations for the upcoming cement plug insertion, (3) the investigation
of a problem that had arisen with one of the mud pumps, and (4) the entertainment of BP and
Transocean executives ironically onboard to celebrate the Deepwater Horizon’s supposedly
spotless safety record.

Several of these simultaneously occurring activities distracted vessel workers from
responsibly monitoring pit fluid levels, eliminating that important source of well flow
monitoring information. A few hours after the mud displacement process began at noon,
BP and Transocean began a four-hour offload of mud to the nearby supply vessel M/V Damon
Bankston. In addition, some of the mud pits and the trip tanks were being cleaned and emptied
during the course of the afternoon. Each of these activities affected the pit fluid levels,
compromising their usefulness as indications of well flow. There is no evidence that BP and
Transocean had any reason to perform these activities during the mud displacement process
other than time savings.

Even if there had been a compelling reason to perform the mud offload and pit
cleaning activities simultaneously with the mud displacement process, BP and Transocean could
have preserved the useful monitoring function of pit fluid level information by isolating one or
more of the pits for well flow monitoring, At the very least, BP and Transocean could have
begun monitoring pit fluid levels again at 5:17 p.m., once the mud offload task was complete.
There is no evidence that pit fluid levels were ever monitored again that afternoon or evening.

The multiple distractions and interference with well data caused by the drilling vessel

crew’s multitasking left them unable to “detect, analyze, and effectively react to the developing

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blowout,” according to the Deepwater Horizon Study Group. The Group also noted that “perils
of parallel processing” have contributed to past oil and gas disasters such as the Piper Alpha
blowout in the North Sea, and the Exxon Valdez crash. The Deepwater Horizon’s crew
performance of simultaneous tasks fractured their attention at critical times, with catastrophic
results.

J. Attempts at Well Control Were Too Late

While the Deepwater Horizon’s crew was inattentively working, hydrocarbons flowed
into the well through the bottom of the last section of casing pipe, flowing up the casing string,
and through the BOP and riser to the surface. Because of their inattention to proper well
monitoring during the mud displacement process, the first sign of this hydrocarbon influx BP
and Transocean seemed to notice was the mud that began spilling out of the riser onto the
vessel deck at about 9:41 p.m., 49 minutes after the leak had started at the bottom of the well.

For emergencies like this one, BP’s and Transocean’s policies and instructions regarding
well control procedures for their vessel workers were woefully inadequate. The procedures
only contemplated relatively small influxes into the well, and did not provide guidance on what
to do if the initial procedures failed to stop the influx, or whether and when to activate
emergency BOP functions such as the emergency disconnect system.

In response to the mud spurting out of the riser at 9:41 p.m., the drilling vessel crew
diverted flow from the well into the mud-gas separator, a device used to separate gas out of the
drilling fluid and vent it safely into the air. This diversion would have been the correct protocol
if this incident had been a mere kick. But for a blowout caused by hundreds of barrels of
hydrocarbons blasting out of the well, the decision to divert well flow through the mud-gas

separator only exacerbated the disaster.

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Diversion to the mud-gas separator not only contributed to the explosions on the
Deepwater Horizon, but it likely caused them to happen sooner than they might have if well
flow had been directed overboard instead. The gas venting pipes on the Deepwater Horizon’s
mud-gas separator were goose-necked, which meant they directed the vented gas downwards
towards the vessel. When large volumes of gas began to escape out of the Macondo well, the
goose necked vents in turn spread gas all over the vessel’s decks, increasing the likelihood that
the gas would find an ignition source.

The volume and pressure of the gas rushing out of the well eventually overwhelmed the
mud-gas separator entirely, bursting its seals, and allowing the gas to spread directly under the
vessel deck as well, enveloping the Deepwater Horizon in a highly flammable cloud of gas.

The blowout became worse as the high pressure gas flow caused the failure of surface
equipment on the drilling vessel, most of which was rated to withstand only 60 — 100 psi.
As cach of these seals and systems gave way under the immense pressure, additional flow
paths were opened and the blowout gained strength.

The drilling vessel workers, following Transocean’s insufficient well shut-in protocol,
closed two of the BOP’s non-shearing rams, which eventually sealed around the drill pipe at
9:47 p.m. At this point, all flow paths from the well to the drilling vessel were sealed off except
for the drill pipe. Flow up the drill pipe was prevented by pressure in that pipe. With the BOP
rams now blocking hydrocarbons from entering the riser along the sides of the drill pipe, the
blowout could have been contained at this point, had the gas on the drilling vessel not exploded.

K. Faulty Vessel Safety Equipment Exacerbated the Blowout

The initial explosion on the Deepwater Horizon on the night of April 20, 2010, was

likely caused by an engine on the vessel deck that sucked in the gas blasting down on the decks

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from the mud-gas separator vents. Gas sensors, designed to shut-down vessel engines when
dangerous vapors are present, are critical to preventing explosions in such situations. Yet the
gas sensors — and the emergency engine shutdown systems connected to them — were
apparently not operational aboard the Deepwater Horizon on the night of the blowout.
Moreover, the automated feature that should have closed the engine’s air intake valves upon
sensing gas entering the engine room also failed. Moreover, the Deepwater Horizon’s engine
room was not equipped with a gas alarm system that could have shut off the power. The
installation and maintenance of these sensors, alarms, and emergency shutdown systems on the
Deepwater Horizon were the responsibility of Transocean, the vessel’s owner.

At approximately 9:48 p.m., the gas sucked into one of the Deepwater Horizon’s
engines caused it to begin to over-speed. The vessel lost power less than a minute later,
almost immediately followed by two explosions, which ignited the gas enveloping the vessel.
The blaze intensified as damage from the explosions and fire opened new flow paths for the
flammable gaseous hydrocarbons spewing out of the well. BP’s investigators found potential
flow paths through the mud pumps and through the top of the drill string, as well as the
possibility that movement of the drill pipe broke the seal that the BOP rams had made around
the drill pipe, reopening the direct flow path from the casing into the riser. Through all or some
of these flow paths, gaseous hydrocarbons poured onto the vessel, fueling fire that engulfed
the Deepwater Horizon and ultimately killed 11 crew members, injured 17 others, and destroyed

the vessel.
1. The Failure of the BOP

Immediately after the explosion, vessel workers tried in vain to activate the emergency

disconnect sequence on the Deepwater Horizon’s BOP. Problems and failures with cach of the

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BOP’s emergency activation methods prevented the use of the Deepwater Horizon’s BOP to seal
the weil, paralyzing its powerful shear rams that should have slammed shut, severing the drill
pipe, and squelching the blowout.

The BOP had several emergency activation methods: the high-pressure closure of the
blind shear ram, the emergency disconnect sequence (“EDS”), the automatic mode function
(“AME”), and activation via remotely operated vehicles (ROVs) on the seafloor using the “hot
stab” or auto-shear functions. None of these were able to activate the BOP to seal the well.

The explosions and fire on the Deepwater Horizon disabled the only two emergency
activation methods available to workers on the vessel: the high-pressure closure of the blind
shear ram and the EDS. From the BOP control panels on the vessel, workers could push
buttons for either of these functions, but both required communication with the BOP itself via
multiplex cables running from the vessel to the BOP on the seafloor. On the vessel, these
multiplex cables were not protected against explosions or fire. It is likely that these cables were
damaged during or immediately after the first explosion, effectively disabling the vessel
workers’ ability to communicate with the BOP.

The AMF sequence initiates when electrical power, communications, and hydraulic
pressure are lost to both control pods on the BOP, circumstances that were certainly satisfied
once the multiplex cables and the also-unprotected hydraulic conduit hose on the Deepwater
Horizon were damaged by the explosions and/or fire. But poor maintenance of the BOP itself
prevented the completion of the AMF sequence to close the blind shear ram.

The Deepwater Horizon’s BOP had two independent control pods, a redundancy
intended to reduce the risk that control pod failure would jeopardize BOP functionality, but

Transocean’s shoddy BOP maintenance prevented either of the two pods from completing

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the AMF sequence on the night of the blowout. Examination and tests performed on the
control pods after the disaster found a faulty solenoid valve and one battery with low charge in
one pod, and two dead batteries in the other pod. These problems apparently existed prior to
April 20, 2010, and were significant enough to prevent either control pod from completing the
AMF sequence to close the BOP’s blind shear ram.

BOP maintenance was Transocean’s responsibility, but BP was aware of Transocean’s
infrequent and inadequate maintenance of the device. The faulty solenoid valve on one of the
control pods would have shown up on the BOP control diagnostic system on board the
drilling vessel, which was accessible to all and should have alerted BP and Transocean to
the problem.

Transocean’s BOP maintenance records from 2001 to 2010, which were also available to
BP at all times, indicate that the control pod batteries were changed far less frequently than the
manufacturer’s recommended annual replacement. Unlike the solenoid valve failure, the
BOP’s diagnostic function would not have shown a low battery charge, all the more reason
for Transocean to proactively change the batteries frequently to avoid failure. But, as BP knew,
Transocean had neglected the BOP batteries before. For example, a November 2007 activity
report recorded that when the BOP was brought to the surface, all of the batteries in one of
the pods were dead.

Beyond these specific BOP maintenance issues, BP and Transocean were also aware
that during the entire duration of operations at Macondo, the Deepwater Horizon’s BOP was out
of certification and long overdue for extensive maintenance and repair. Although the BOP’s
manufacturer required manufacturer testing of the device every five years, the Deepwater

Horizon’s BOP had not been sent to the manufacturer for inspection since 2000.

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The BOP had not undergone a thorough series of maintenance checks since 2005,
despite the significant problems uncovered within the device during that inspection,
According to Transocean maintenance documents from the 2005 inspection, the BOP’s control
panels pave unusual pressure readings and flashed inexplicable alarm signals, while a “hot line”
connecting the vessel to the BOP was leaking fluid. An independent engineering company was
hired to assess the BOP, but could not perform all of its examinations — including verification
that the Deepwater Horizon’s BOP could effectively shear drill pipe and seal off wells in high
pressure, deep water conditions — because the BOP was in use and inaccessible on the sea
floor, and BP and Transocean would not stop work to bring it up.

A Transocean-commissioned independent audit of the vessel in April 2010, just before
the blowout, again revealed a range of problems with the Deepwater Horizon’s BOP, including a
leaking door seal, pump parts needing replacement, error-response messages, and “extraordinary
difficulties” surrounding the maintenance of the BOP’s annular valves. In keeping with its lax
approach to BOP maintenance, Transocean also failed to recertify the Deepwater Horizon’s
BOP, as required by federal regulations, because recertification would require a full disassembly
of the device and more than 90 days of downtime.

BP later noted that Transocean did not record well control related equipment
maintenance — including that of the BOP - accurately or completely in its regular
maintenance management system. BP also recognized that some alleged work that was
recorded as performed on the BOP could not possibly have taken place since the BOP was in
use on the seafloor at the time of the supposed repair.

After the explosions, as the Deepwater Horizon was burning on the surface,

emergency responders sent ROVs to the sea floor to attempt to close the blind shear ram

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using the “hot stab” or auto-shear functions. Several hot stab attempts to close the blind
shear ram failed due to insufficient hydraulic pressure. Over the course of these events, a
number of leaks were discovered in the BOP’s hydraulic system, as well as incorrect hydraulic
plumbing from the ROV intervention panel to the pipe rams, which was likely the result of
aftermarket modifications to the BOP.

Ultimately six leaks were discovered in the hydraulic system of the Macondo well’s
BOP, BP and Transocean were aware of at least two, and maybe all, of these leaks prior to
April 20, 2010. One leak was discovered as early as February 2010, but was never repaired or
otherwise addressed by BP or Transocean. In any event, the weekly BOP function tests should
have made BP and Transocean aware of the other hydraulic system leaks identified during the
ROV intervention.

BP and Transocean were also aware of the aftermarket modifications that hindered the
emergency responders’ ability to activate the BOP via hot stab procedures. In addition to
incorrectly installed aftermarket hydraulic plumbing, BP and Transocean had switched out one
of the Deepwater Horizon’s variable bore rams with a non-functional test ram. After the
blowout, emergency responders spent a day futilely trying to close that missing variable bore
ram, not knowing it had been replaced with a useless test part, because BP and Transocean
had not updated the BOP’s schematic diagram to reflect the aftermarket changes. BP’s and
Transocean’s failure violated 29 C.F.R. § 1910.119, which required up-to-date process and
safety system equipment drawings as a part of basic process safety management.

BP and Transocean officials were aware of the faulty solenoid valve, poor battery
maintenance, hydraulic fluid leaks, and aftermarket modifications on the Deepwater Horizon’s

BOP long before the April 20, 2010; however, no action was ever taken to address the

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problems, perhaps because additional delays and costs would accrue as all well work would stop
while the BOP was raised from the sea floor for repairs. In addition to posing a significant
safety risk, BP’s and Transocean’s choice to continue drilling with a faulty hydraulic system
violated federal regulations, which require companies to disclose problems to the MMS and
to stop drilling if either of a BOP’s two control systems is not working properly.

Despite vessel workers’ efforts just after the blowout, and emergency engineers’ efforts
in the weeks after the blowout and sinking, the Deepwater Horizon’s blind shear ram never
successfully sealed the well. Although tests determined that the ROVs had activated the high-
pressure blind shear ram close function by cutting the auto-shear rod, the well continued to spew
oil into the Gulf of Mexico.

At the time of the disaster, BP and Transocean were certainly aware that in addition
to increasing the risk of blowouts, deep-sea drilling also increases the risk of BOP failure.
BP and Transocean were also aware that the industry and government had significant concerns
about the reliability of BOPs like the one installed on the Deepwater Horizon. A 2004
study by Federal regulators showed that BOPs may not function in deep-water drilling
environments because of the increased force needed to pinch and cut the stronger pipes used in
deep-water drilling. Only three of 74 vessels studied in 2004 had BOPs strong enough to
squeeze off and cut the pipe at the water pressures present at the equipment’s maximum depth.

Despite being aware of the risk of the BOP failing at greater depths, BP and Transocean
did not install backup BOP activation systems, backup BOPs or other secondary redundant
precautionary measures available to protect the vessel, its workers, Plaintiffs, and the
environment from the catastrophic results of a well blowout.

The Deepwater Horizon’s BOP was outfitted with only one blind shear ram. But blind

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shear rams are vulnerable to a “single-point failure” — if just one of the small shuttle valves
that carry hydraulic fluid to the ram malfunctions, the BOP cannot seal the well. A 2000 report
on the Deepwater Horizon’s BOP concluded that the shuttle valve was the BOP’s weak spot.
Consultants attributed 56 percent of the BOP’s “failure likelihood” to this one small valve.
Indeed, evidence suggests that when the Deepwater Horizon crew attempted to activate the
BOP’s blind shear ram, the ram’s blades could not cut through the drill pipe because one or
more of the shuttle valves leaked hydraulic fluid.

Vulnerabilities like the BOP blind shear ram’s single-point failure risk were well
understood by BP, Transocean and the rest of the oil industry. In fact, offshore drillers now
commonly add an extra layer of protection against this single-point failure risk by
equipping their BOPs with two blind shear rams. In 2001, when the Deepwater Horizon went
into service, Transocean was already equipping its newer drilling vessels with BOPs that could
accommodate two blind shear rams, and today 11 of Transocean’s 14 Gulf of Mexico vessels
have two blind shear rams. The three that do not were built before the Deepwater Horizon.
Nevertheless, neither Transocean nor BP retrofitted the Deepwater Horizon’s BOP with two
blind shear rams. BP’s explanation was that the drilling vessel needed to carry the BOP from
well to well and there were space limitations. However, oil industry experts have dismissed that
explanation, saying an additional blind shear ram on the BOP would not necessarily have
taken up any more space on the vessel.

BP and Transocean were also well aware of the benefits of redundant blind shear rams.
In May 2003 the Discoverer Enterprise ~ a Transocean vessel operated by BP, just like the
Deepwater Horizon — was rocked when the riser pipe connecting the vessel to the wellhead

cracked open in two places. The BOP was activated and the first blind shear ram closed. After

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robots checking the integrity of the BOP noticed damage, the second blind shear ram was
also closed to provide an extra layer of protection against a blowout. Despite this firsthand
experience of the necessity of redundant blind shear rams, BP and Transocean used one of the
slots on the BOP for the non-functional test ram, which would save them money by reducing
the time it took to conduct certain well tests, instead of installing a second blind shear ram
there. BP and Transocean have acknowledged their awareness that installing the test ram
instead of a functional ram would reduce the built-in redundancy and raise the risk profile of the
Deepwater Horizon.

If the BOP on the Macondo wellhead had been functional and properly maintained by
Transocean, it could have been manually or automatically activated right after the explosion,
stopping the blowout at the wellhead, limiting the Spill to a minute fraction of its ultimate
severity, and thereby sparing Plaintiffs millions of dollars in losses and damage.

BP and Transocean failed to ensure that the BOP present on the Deepwater Horizon
possessed reasonably safe, adequate, functional technology to prevent blowouts.

BP and Transocean also failed to ensure that the Deepwater Horizon’s BOP had
sufficient, functional, built in redundancy to eliminate single-point failure modes.

BP and Transocean also failed to ensure that all foreseeable repairs, if any, and
foreseeable modifications, if any, to the Deepwater Horizon’s BOP were performed, completed,
and tested with the drilling vessel’s operations shut-down and the well secured.

BP and Transocean also failed to ensure that the testing, if any, of the Deepwater
Horizon’s BOP was comprehensive, reviewed, and verified, and further failed to check and
verify the BOP’s entire operating and control system, including but not limited to, checking for

leaks at ROV connection points, and verifying the functionality of the AMF and/or auto-shear.

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BP and Transocean could have ensured that a BOP and/or back-up BOP with sufficient
strength and reliability for deep water drilling was present and available on the Deepwater
Horizon, but did not do so.

BP and Transocean could have installed a back-up acoustic trigger to activate the
Deepwater Horizon’s BOP in the event that the main trigger failed to activate. In fact, federal
regulators at the MMS communicated to BP and/or Transocean in 2000 that MMS considered a
backup BOP activation system to be an essential component of a deep water drilling system.

Despite this notice, and although the back-up acoustic BOP trigger is a common
drilling vessel requirement in other oil-producing nations, including other areas where BP and
Transocean operate, the Deepwater Horizon was not equipped with this back-up acoustic BOP
trigger.

2. Poor Vessel Maintenance and Reckless Bypass Of Safety Systems

Unfortunately, the BOP was not the only part of the Deepwater Horizon that was
poorly maintained and in disrepair at the time of the blowout. Transocean had a history of
postponing and ignoring needed maintenance on the Deepwater Horizon, despite concerns
raised by its own employees and other vessel workers. In the weeks before the blowout,
the Deepwater Horizon suffered power outages, computer glitches, and a failed or failing
propulsion system. In some cases, Transocean officials purposely overrode or disabied vital
safety mechanisms and alarms. When the Macondo well blew out, the Deepwater Horizon’s
shoddy maintenance facilitated a cascade of failures of multiple emergency systems,
exacerbating the disaster.

Apparently, the Deepwater Horizon had a number of ongoing equipment problems at

the time of the blowout, some of which contributed to the failure of backup generators that

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should have powered safety and shutdown devices immediately after the blowout. Vessel-wide
electrical failures had occurred two or three times before April 20, 2010, and the driller’s control
chair had lost power just a few days prior to the blowout. The primary computer used to control
all vessel drilling functions routinely crashed and had to be restarted, interfering with
vessel workers’ ability to monitor well data. One of the vessel’s thrusters, an underwater
propeller that helps the floating vessel move and stabilize itself in the water, had been
having problems for eight months prior to the blowout.

Moreover, the computerized system used to monitor routine maintenance aboard the
vessel was not working optimally because glitches from a recent computer system migration
had not yet been resolved. Sometimes the computer called for maintenance to be done on
equipment that did not exist aboard the vessel, while some pieces of equipment that were aboard
the vessel and in need of maintenance were not registered by the computer.

Even worse, some key safety systems and alarms on the Deepwater Horizon had been
intentionally bypassed or disabled by Transocean. For example, on the night of the blowout, a
pressure regulator valve, which automatically cuts off gas flow at a certain pressure point
and could have helped stop the blowout, was in bypass mode when the gaseous hydrocarbons
blew out of the Macondo well. A fire alarm system on the vessel was also partially disabled at
the time of the blowout, and had been for at least a year. The system was set to “inhibited”
mode, meaning that the control panel would indicate a problem, but a general alarm would not
sound throughout the vessel unless manually activated. These problems had been brought to the
attention of BP and Transocean numerous times, including complaints made just days prior to
the blowout.

Upon information and belief, had Transocean not disabled the alarm systems, the

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system would have sounded alarms immediately after the blowout, shut-down all potential
ignition sources, and activated the drilling vessel’s EDS, which would have prevented the
explosion.

When the Deepwater Horizon lost power during the blowout, none of the backup or
emergency generators were working — equipment that was on board for the very purpose of
providing power to alarm and safety systems in just such an emergency. There was no general
alarm, no internal communications, and no power to the vessel’s engines. Morcover, without
power, the crew was also unable to engage the EDS that would have stopped the flow of gas
fueling the fire on the vessel, and many other alarm and safety systems were rendered silent and
useless.

An equipment assessment commissioned by Transocean in April 2010, just before the
blowout, revealed many key components on the Deepwater had not been fully inspected
since 2005, and at least 36 components and systems on the vessel were in “bad” or “poor”
condition, which “may lead to loss of life, serious injury or environmental damage as a result of
inadequate use and/or failure of equipment.” The equipment assessment also found problems
with the vessel’s ballast system that they noted could directly affect the stability of the ship.
The assessment found a malfunctioning pressure gauge and multiple leaking parts, and also
faulted the decision to use a type of sealant “proven to be a major cause of pump bearing
failure.”

The findings of the Transocean-commissioned equipment assessment echoed a similar
BP-commissioned audit that had been conducted in September 2009. The BP audit found that
Transocean had excessive overdue planned maintenance, consisting of 390 jobs amounting to

3,545 man hours of needed maintenance work.

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In a confidential worker survey conducted on the Deepwater Horizon just weeks before
the blowout, Transocean employees voiced concerns about poor equipment reliability. One
worker noted that the drilling vessel had not once in its nine-year career been taken to dry dock
for necessary repairs. Another worker described Transocean’s policy of running equipment
to failure before making just the bare minimum repairs.

BP was aware of Transocean’s poor maintenance of the Deepwater Horizon and its
practice of disabling or bypassing vital safety systems, and alarms, yet it never called for
work to stop until vessel safety was improved, and it never reported Transocean’s actions and
inactions to the MMS.

L. BP’s and Transocean’s Culture of Complacency

All the evidence of BP’s and Transocean’s misguided priorities and imprudent decisions
regarding the Macondo well and the Deepwater Horizon described above is part of a culture of
complacency. BP and Transocean did not take the serious risks seriously, and failed to
identify or respond to the risks that proved to be fatal. The complacency was especially
deplorable considering that - on March 8, 2010 — the Deepwater Horizon had just survived a
near miss, an influx that went unnoticed for over 30 minutes. That brush with disaster
should have been a lesson learned for BP and Transocean, but to the contrary, just six weeks
later, their haste and carelessness again led them to miss signs of an influx for 49 minutes, and
to not notice the breach until it was too late.

An independent group of scientists singled out BP in particular for its “lack of
discipline” in its operations at Macondo, in an interim report released November 17,
2010. “Numerous decisions to proceed toward abandonment [well completion] despite

indications of hazard, such as the results of repeated negative pressure tests, suggest an

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insufficient consideration of risk and a lack of operating discipline,” according to the 15-member
panel of National Academy of Engineering scientists.

Moreover, the panel found that BP suffered from a lack of “management discipline” and
problems with “delegation of decision making” on board the Deepwater Horizon. Workers
aboard the drilling vessel were often unsure about who was actually in charge, and there was a
“lack of on board expertise and of clearly defined responsibilities,” the NAE report said. Poor
communication between employees of BP and Transocean also contributed to the confusion on
the vessel.

As the Deepwater Horizon Study Group put it: “[iJt is the underlying ‘unconscious
mind’ that governs the actions of an organization and its personnel.” I[n the case of the
Deepwater Horizon, the cultural influences permeating the Macondo teams — both on the vessel
and on the beach — reflected “gross imbalances between production and _ protection
incentives” and manifested in “actions reflective of complacency, excessive risk-taking, and a
loss of situational awareness.”

BP’s and Transocean’s complacent approach to their respective responsibilities regarding
the Deepwater Horizon Macondo well was in direct violation of federal regulations intended
to maintain public safety. Pursuant to 33 C.F.R. 250.107, BP and Transocean were required to
protect health, safety, property, and the environment by (1) performing all operations in a safe
and workmanlike manner; and (2) maintaining all equipment and work areas in a safe condition.
They were further required to immediately control, remove, or otherwise correct any hazardous
oil and gas accumulation or other health, safety, or fire hazard and use the “best available and
safest technology” whenever practical on all exploration, development, and production

operations. BP’s and Transocean’s violation of these regulatory mandates caused and/or

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contributed to the Macondo well blowout and the subsequent explosions, fire, sinking, and
Spill.

This culture of carelessness and impudence was not limited to BP’s and Transocean’s
actions and decisions on the Deepwater Horizon at the Macondo well. In fact, BP and
Transocean have a history of foolhardy, irresponsible behavior across their operations on land
and at sea ~ a record littered with accidents, spills, regulatory violations, fines, and lawsuits.

Workers on the Deepwater Horizon also described “a corporate culture of ...ignoring
warning signs ahead of the [April 20th] blast,” saying that “BP routinely cut corners and
pushed ahead despite concerns about safety.” Prior incidents, investigations and testimony
from Congressional hearings show that BP actively discourages workers from reporting safety
and environmental problems. Reports from multiple investigations of the Texas City and
Alaska disasters all indicate a pattern of intimidating — and sometimes firing — workers who
raise safety or environmental concerns. In Alaska, pressure for increased production with fewer
safety reports created “an environment where fear of retaliation [for reporting problems] and
intimidation did occur.’ Also in Alaska, a pipeline safety technician working for a BP
contractor was scolded, harassed, and ultimately fired for reporting a crack in a pipe that was
dangerously close to an ignition source, despite that other reports indicated he was one of the
top-performing employees in his position. “They say it’s your duty to come forward,” he said
of BP’s official corporate policies, “but then when you do come forward, they screw you.” Ina
more extreme example, in the 1990s a BP executive was involved in a scandalous scheme
involving spies hired to track down a whistleblower who had leaked information about BP spills
to the press.

When Tony Hayward took office as CEO of BP p.lec. in 2007, he pledged to

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change BP’s culture with a renewed commitment to safety. Yet according to the
Occupational Safety and Health Administration (“OSHA”), over the past three years ~ during
which time BP was under Mr. Hayward’s leadership - BP has committed 872 safety violations ~
— most categorized by OSHA as “egregious willful”— a number made even more shocking
when compared to BP’s competitors, who average about five violations each. Two refineries
owned by BP account for 97 percent of all “flagrant” violations found in the refining industry
by government safety inspectors over the last three years. According to a former EPA lawyer
involved in the Spill investigations, “none of the other supermajors have an environmental
criminal record like they do.” BP’s marginal ethics are well known to its competitors and
others in the oil and gas industry, yet other companies — including Transocean — continue to
work with BP closely and frequently.

Like BP, Transocean’s corporate culture is also skewed towards profits at the expense of
safety, according to the results of the broad review of its North American operations made
before the blowout. Transocean’s system for tracking health and safety issues on the
Deepwater Horizon was “counter-productive,” according to nearly all the workers surveyed.
Fake data entered into the program in order to circumvent it distorted the perception it gave of
safety on the vessel. Moreover, Transocean’s entire fleet of drilling vessels bypassed certain
vital safety systems as a matter of practice.

Investigators also found that a stifling bureaucracy imposed by onshore management
bred resentment among Transocean vessel workers. Workers complained that past problems
were only investigated by the company in order to place blame, rather than to learn from the
mistakes. Although workers often saw unsafe behavior at the rig many expressed fears of

reprisals for reporting problems, especially to supervisors based im Houston. This tension

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between the vessel and the beach likely played a role in discouraging workers on Deepwater
Horizon from reporting problems or anomalies like the abnormal negative pressure results to
their supervisors onshore.

As BP and Transocean internally prioritize profits over safety at every level of their
companies, they continue to resist and evade regulation of the oil exploration and production
industry. For example, despite the known vulnerabilities and shortcomings of BOPs in deep
water drilling, this year BP helped finance a study to support their argument that BOP pressure
tests should be required with less frequency — every 35 days rather than the current
frequency of every 14 days. This change would save the industry $193 million per year in “lost
productivity.” BP has also actively opposed MMS rules requiring drilling vessel lessees and
operators to develop and audit their own Safety and Emergency Management Plans, insisting
that voluntary compliance will suffice. The Deepwater Horizon disaster is a tragic example
to the contrary.

Decisions tradeoffs, actions, and inactions by BP and Transocean, including the risky
well design, inadequately tested cement, tests that were skipped or misinterpreted, and
procedures that deviated from industry norms, all contributed to the blowout of the Macondo
well. At no time did BP or Transocean report regulatory violations to the authorities, or call
to stop work because of unsafe decisions, plans, actions, or conditions in the well or on the
vessel. The carelessness, nonchalance, inexperience, and distraction of BP and Transocean
resulted in insufficient well monitoring and overlooking the signs of an influx for 49 minutes
prior to the blowout. Once the well blew out, BP’s and Transocean’s poor vessel maintenance
and intentional bypass of alarms and emergency systems contributed to the failure of safety

mechanisms, exacerbated the disaster, and likely caused the unnecessary deaths and injuries of

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vessel workers, the destruction of the Deepwater Horizon and the Spill that damaged Plaintiffs.
Underlying it all, BP’s and Transocean’s corporate cultures of trading safety for speed,
production, and profit, and encouraging their employees to do the same, sped the inevitable
approach of catastrophe.

M. BP Misrepresented The Severity Of The Spill And [ts Response Capabilities

On the night of April 20, after the explosions ignited the vessel, the resulting fire on the
Deepwater Horizon raged for two days before the vessel finally sank on April 22, 2010. On the
sea surface, the Deepwater Horizon had been connected to the wellhead at the seafloor by a
5,000-foot marine riser pipe. As the vessel sank to the seafloor, it dragged the riser down with
it, bending and breaking the pipe before finally tearing away from it completely. Immediately,
oil and natural gas began to escape from the open end of the riser and from at least two places
along its twisted length.

For 87 days, the surge of oil and gas from the gushing well continued unabated, and
the Spill’s fast-growing oil slick made landfall on April 30, 2010, affecting increasingly
larger areas of the Coastal Zone as it was driven landward by currents and winds. Once the oil
reached the coasts, it damaged the pristine beaches and delicate wetlands, marshes, and
estuaries that line the coasts of the Gulf States, destroying the habitats and spawning sites of
marine life, as well as the tourism industry and property values in the Coastal Zone.

From the outset, BP attempted to downplay and conceal the severity of the Spill. BP’s
initial leak estimate of 1,000 barrels per day was found by government investigators to be a
fraction of its actual measured leakage amount of 50,000 barrels per day. An internal BP
document release later showed that the company’s analysis at that time actually determined

that the rate of oil spillage could be as high as 100,000 barrels ~ or 4,200,000 gallons — per day.

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BP may have understated the Spill size because certain pollution-related fines against BP will
ultimately be calculated based on the volume of oil and other pollutants spilled.

BP’s obstructionist behavior regarding accurate data continued as the Spill progressed;
BP did not provide complete and timely announcements and warnings about the severity,
forecast, and trajectory of the Spill, and resisted scientists’ efforts to gauge the scope of the
disaster on land and at sea.

While BP was understating the severity of the Spill, it became clear that BP had
previously overstated its ability to respond to a spill. In its initial EP, submitted prior to
beginning work at Macondo, BP had assured the MMS that it could effectively contain any spill
of up to 250,000 barrels of oil per day, using proven equipment and technology. In reality, BP
was not prepared for an oil spill of any size. The spill-prevention plan BP had submitted to the
MMS was an obvious cut-and-paste job that had not been updated to current conditions -- not
only did it reference Arctic wildlife not indigenous to the Gulf of Mexico, such as walrus, it
also listed incorrect and out-of-date contact information for oil spill engineers and experts,
including one wildlife expert who died in 2006.

BP has now admitted that it did not actually have a response plan with proven
equipment and technology in place to contain the Deepwater Horizon Spill and that its
contingency plans were inadequate. Despite the constant risk of a spill at any one of its many
Gulf of Mexico wells, BP did not have a realistic response plan, a containment barge,
skimming vessels, a response crew, or recovery material like containment boom ready and
available to deploy immediately in an emergency. On the contrary, the Spill response could
not begin until the U.S. government, including the Coast Guard and the Navy, brought in

skimmers, boom, and other materials, and volunteers were found to assist with the clean-up.

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On May 17, 2010, several U.S. Senators contacted U.S. Attorney General Eric Holder
to request that the U.S. Department of Justice “open an inquiry into whether British
Petroleum (BP) made false and misleading statements to the federal government regarding its
ability to respond to oil spills in the Gulf of Mexico,” noting:

In the wake of the Deepwater Horizon oil spill, it does not in any way appear

that there was “proven equipment and technology” to respond to the spill,

which could have tragic consequences for local economies and the natural

resources of the Gulf of Mexico. Much of the response and implementation of

spill control technologies appears to be taking place on an ad hoc basis.

Upon information and belief, BP also hindered efforts to kill the Macondo well and
stop the flow of oil and gas into the Gulf waters. Engineers knowledgeable about blowout
responses told BP how to kill the well as early as June 2010, but BP, after conferring with its
Macondo lease partners — the Anadarko Defendants and MOEX Offshore — chose to ignore the
engineers’ well-kill procedure because BP did not want to damage the well — or its chance to
make a profit at Macondo. Because BP, along with its lease partners, hoped to retap the
Macondo well and the large, valuable reservoirs beneath it, they ignored expert well-kill
information that could have stopped the Spill many weeks earlier.

N. The Spill’s Impact on Plaintiffs

Because of the Spill, roughly 6.9 million barrels of oil were discharged into the Gulf of
Mexico, plus millions of gallons of chemical dispersants and other toxic pollutants. The oil,
natural gas, chemical dispersants and other toxic pollutants have contaminated and continue to
contaminate the Gulf of Mexico and the Coastal Zone.

The oil released during the Spill contains benzene, toluene, polyaromatic hydrocarbons,

and other compounds (collectively referred to as Total Petroleum Hydrocarbons, or “TPH”),

all of which are known carcinogens. Discharge of the toxic pollutants, as identified in 40

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C.F.R. § 401.15, likely includes, but is not limited to, benzene, toluene, naphthalene,
polynuclear aromatic hydrocarbons (including, but not limited to, phenanthrene,
benzanthracenes, benzophyrenes, benzofloranthene, chrysenes, dibenzanthracenes, and
idenopyrenes), fluoranthene, arsenic, cadmium, copper, mercury, and nickel, all of which
are hazardous to the health of humans and marine life. Upon information and belief, BP has
analyzed and knows the exact concentrations of each of the toxic pollutants present in the
oil coming from its wells.

Moreover, the chemical dispersants used by BP during the Spili response may be
harmful to the health of humans and marine life. Over two million gallons of chemical
dispersants were released into Gulf waters to disperse the oil coming from the damaged
well. According to environmental experts in the Deepwater Horizon Study Group, oil
recovery (such as skimming) is preferable to chemical dispersion because recovery actually
removes the oil from the environment, rather than simply spreading it through the water
column and sinking it to the sea floor, where it can continue to cause environmental damage to
the Gulf ecosystem — even if it is no longer causing public relations damage to BP. The
environmental effects of using chemical dispersants in such magnitude and at such depths have
never been tested.

The Spill and the resulting contamination of the Gulf of Mexico and the Coastal Zone
impacted and continues to impact Plaintiffs’ abilities to collect and consume natural resources
from the Gulf of Mexico and from the shorelines, beaches, shores, marshes, harbors, estuaries,
bayous, bays, and other waters of the Coastal Zone. Among other damage, the Spill and the
resulting contamination of the Gulf of Mexico and the Coastal Zone caused and continues to

cause subsistence losses to Plaintiffs in that they rely on the marine life in the Gulf of Mexico

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and the Coastal Zone for food and bait to catch food. The marine life relied on by the Plaintiffs
for food include, but may not be limited to, a wide variety of various types and species of fish,
crabs, oysters and/or shrimp.

The Spill caused the National Oceanographic and Atmospheric Administration
(“NOAA”) to restrict commercial and recreational fishing across large areas of the Gulf
of Mexico ~ up to 88,552 square miles at the restriction’s greatest extent. According to NOAA,
surface-oriented marine life was most harmed by the early stages of the Spill, especially near-
shore species and/or species that were spawning when the oil reached the shore. But as the
crude oil weathered, sank, or was dispersed throughout the water column, reef and bottom-
oriented fish (such as snappers and groupers) were also threatened. In November and December
2010, scientists found evidence that thick swaths of sunken oil bearing the unique hydrocarbon
signature of the Macondo well are covering large areas of the seafloor in the Gulf, killing deep
water coral reefs and sediment-dwelling organisms that play major roles at the base of the Gulf
food chain. Moreover, as sunken and dispersed oil resurfaces, additional harm to marine
ecosystems will occur and continue. As noted by Dr. Lisa Kaplowitz of the U.S. Department
of Health and Human services, in her June 15, 2010 testimony before Congress: “Oil can
remain toxic in the environment for years.”

Because of the size and nature of the surface oil slick, the subsurface oil plumes, and
weathered oil on shorelines, and the toxic effects of the oil and other substances released
during the Spill on humans, marine life, and the Coastal Zone environment, there have been and
will continue to be further economic losses and diminution of property values to individuals
and entities owning and/or leasing residential or investment properties in the Coastal Zone.

Because investigations are ongoing, there are many other potential effects from the

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Spill that have not yet become known, and Plaintiffs reserve the right to amend this Complaint

after additional information becomes available.

CLAIM FOR
RELIEE

The Oi ion.
(Against All Defendants)

Plaintiffs reallege cach and every allegation set forth in all preceding paragraphs as if
fully restated here.

The OPA imposes liability on a “responsible party for a... vessel or a facility from
which oil is discharged...into or upon navigable waters or adjoining shorelines” for the damages
that result from such incident as well as removal costs. 33 U.S.C. § 2702.

The Coast Guard has named BP as the responsible party for the subsurface release of oil
resulting from the Spill and Transocean as the responsible party for the release of diesel on the
surface. Therefore, BP and Transocean are strictly liable pursuant to Section 2702 of the OPA
for all the damages resulting from the Spill.

The United States District Court for the Southern District of Texas named Anadarko as a
responsible party for the subsurface release of oil resulting from the Spill. Therefore, Anadarko
is strictly liable pursuant to Section 2702 of the OPA for all the damages resulting from the
Spill.

The Anadarko E&P and MOEX Offshore held a leasehold interest in the Macondo
lease before and/or at the time of the Spill. Therefore, Anadarko E&P and MOEX Offshore
are also responsible parties pursuant to Section 2701 (16) and (32) of the OPA. As such, they
are strictly liable pursuant to Section 2702 of the OPA for all the damages resulting from the
Spill.

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Defendants BP and Transocean are not entitled to limit their ability under Section
2704(a) of the OPA because the Spill was proximately caused by their gross negligence, willful
misconduct, or violation of applicable safety, construction or operating regulations. 33 U.S.C.
§ 2704(c).

Moreover, in its “Statement of BP Exploration & Production Inc. Re Applicability of
Limitation of Liability Under Oil Pollution Act of 1990,” filed on October 19, 2010, BP
waived the statutory limitation on liability under the OPA.

As a result of the Spill, Plaintiffs have not been able to use natural resources (air and
water, and potentially wetlands and other areas and spaces that have and/or may become
contaminated by the spilled oil), and they are entitled to recover jointly and severally from BP,
Transocean, the Anadarko Defendants and MOEX Offshore for such damages in amounts to be
determined by the trier of fact, in addition to the damages as set forth below.

As a result of the Spill, Plaintiffs are entitled to damages pursuant to Section
2702(b)(2)(C), which provides for recovery for “[d]amages for loss of subsistence use of natural
resources, which shall be recoverable by any claimant who so uses natural resources which have
been injured, destroyed, or lost, without regard to the ownership or management of the
resources.”

To the extent required by law, Plaintiffs have satisfied all of the administrative
requirements of 33 U.S.C. §§ 2713(a) and (b), as to each and all defendants, by the pre-lawsuit
submission of their claims to the Gulf Coast Claims Facility (the “GCCF”) and/or BP and/or its

agents or designees.

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PRAYER FOR
RELIEF

WHEREFORE, Plaintiffs demand judgment against Defendants, individually, jointly

and severally for the following:

(a) economic and compensatory damages in amounts to be determined

at trial;

(b) pre-judgment
allowable by law;

and post-judgment

interest at the maximum rate

(c) attorneys’ fees and costs of litigation;

(d) such other and further relief available under all applicable state and
federal laws and any relief the Court deems just and appropriate.

Dated: March 1, 2012

OF COUNSEL:

THE MILLS LAW FIRM

Michael A. (“Mickey”) Mills
11000 Brittmoore Park Dr., Ste 200
Houston, TX 77041

(713) 893-4581

(888) 313-1507 (Fax)

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Respectfully submitted,

LS LAW FIRM

easy

* Be ‘ites . Hoover:
State Bar No. 09965700
11000 Brittmoore Park Dr., Ste 200
Houston, TX 77041
(713) 893-4581
(388) 313-1507 (Fax)

ATTORNEY-IN-CHARGE
FOR PLAINTIFF
Case 2:1

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2-cv-00730-CJB-JCW Document 1-1 Filed 03/21/12

EXHIBIT A

. Arnold A. Acosta — Texas

. Henry E. Adams — Texas

. John Adamson — Texas

. Gerry E. Addison — Texas

. Vera L. Alexander — Texas

. Abdul M. Ali — Texas

. Clarence Allen, Sr. — Texas

. Michael W. Allinder — Mississippi
. Ralph A. Anderson — Texas

. Ronald W. Anderson — Texas

. Mwata Andrews — Texas

. Steven Andrus — Texas

. David Atkins — Texas

. Darryl L. Azore — Texas

. Jerome J. Babineaux — Texas
. Dennis Bailey — Texas

. David Balderaz — Texas

. Richard Baldini, Ill — Louisiana
. Derrick A. Baldwin — Texas

. Henry L. Banks - Texas

. Felton Bellard — Texas

. Donald M. Bench — Texas

. Larry R. Bennett — Texas

. Troy R. Berlinger — Texas

. Keith Berry — Texas

. Neal E. Bland, Jr. — Texas

. Michael Bledsoe — Texas

. David A. Block — Texas

. Micah Bohon — Texas

. Earnestine C. Bonds — Texas

. Kathy D. Boone — Texas

. Caryn A. Bosse — Texas

. Charles C. Bracks — Mississippi
. Jimmie E. Bracks — Mississippi
. Benny M. Breazeale, Jr. — Mississippi

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Jerry W. Breda — Texas
Yvette L. Breed — Texas
Johnny B. Briggs — Orange
Reginald Brigham — Texas
Christopher Brim — Texas
Landon C. Brinkley — Texas
Eric B. Britnell — Texas

Gary M. Brouillette — Mississippi
Bobby R. Brown — Texas
Charles Brown — Texas
Jeffery Brown — Louisiana
Joseph J. Brozak — Texas
Duong Q. Bui — Texas

Mark W. Burgess — Texas
Bennie R. Burson — Texas
Roberto Caceres — Texas
John C. Calhoun, Jr. - Texas
John V. Cappadona — Texas
Melchor Cardenas — Texas
James Carlin — Louisiana
Gregory Carr — Texas
Jacqueline D. Carroll — Texas
George Cash, Jr. — Texas
Charles H. Cates — Texas
Sokha Chao — Alabama
Sheila Chapman — Texas
Shalanda M. Chark — Texas
Gerald Cheatham — Texas
George Chevis — Texas
Donald W. Childress — Texas
Jennifer S. Church — Texas
Roman Cizek — Louisiana
Renne E. Clements — Texas
Glenn Click — Texas

Billy Clifton —- Texas

David Coker — Texas
Damario D. Cole — Texas
Corey L. Coleman — Texas
Lee Coleman — Texas
Maximo Contreras — Texas

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Michael A. Cope — Texas
Richard A. Corbett — Texas
Sipriano Cruz — Texas

Eligha Curry — Texas

Derrick L. Curvey — Texas
Charles L. Dade — Texas

Alan Dailey — Texas

Michael Damian — Texas
Roland Daniels, Jr. — Texas
Theresa Davenport — Texas
Lillie F. Davidson - Texas

Kara M. Dent — Texas

Linda G. Dexter (Foty) — Texas
Michael F. Diebold — Mississippi
Leroy Donley, Jr. — Texas
Harold Doty — Texas

Dwight J. Duke — Texas

Bobby E. Dykes — Mississippi
Carey Earl — Texas

Arthur East — Texas

Donald J. Eatmon — Texas
Johnny F. Ellis — Texas

Henry L. Ezell — Texas

Rodney O. Fairley — Mississippi
William J. Feazell, Jr. — Texas
John Fennelly — Texas

Leroy Ferguson, Jr. — Texas
Kyle A. Fickessen — Texas

104. Brent D. Flato — Texas

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Charles R. Fleming — Texas
Michael A. Flora — Texas
Joseph Foley — Texas

Jack N. Foty — Texas

Ruth A. Fouts — Texas

110. David M. Fregia — Texas
111. Frederic A. Frere — Texas
112. Terry L. Fullen — Texas
113. James D. Fuller — Texas
114. Vittorio Galia — Texas
115. Vernon Gallier — Texas

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Ricardo Galvan — Texas

James Garcia — Texas

Juan M. Garcia — Texas
Rodney Gary, Ill — Texas
Adolfo Garza — Texas

Paulino L. Garza — Texas
Derrick D. Gaston — Texas
Sylvester J. Gayten — Mississippi
Garret M. Gibbens — Texas
Peter Giglio — Louisiana
Howard E. Gilliard — Texas
Lawrence Gobert — Texas
Kimberly Gonzales — Texas
Robert W. Goodrum, Jr. — Texas
Christopher S. Gorman — Texas
Amile Goudeau — Texas

Corey T. Govan — Texas

Lionel Green — Texas

Eric Green — Texas

Michael R. Green — Texas

John R. Green — Texas

Percy L. Green — Texas

Darren R. Grice — Texas

Eric A. Grimes — Texas

Karen E. Grossenbacher — Louisiana
Jace Groth — Texas

Clarence Gunter — Texas
Wesley D. Haak — Texas

Barry Hailey — Texas

Elizabeth Hall — Texas

Robert Hall — Texas

Carl Hallows — Texas

Brad J. Hanley — Texas

Jim Hardy — Texas

Willie O. Harper — Texas

Scotty Harris — Texas

Richard Harveston — Texas
David J. Hebert, Sr. — Louisiana
Henrietta N. Heuer — Louisiana
Charles E. Hill — Texas

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Raymond S. Himel, Jr. — Louisiana
Erma M. Hite —- Texas
Christine P. Hoang — Texas
Lawrence B. Hodges — Texas
Demetrius L. Hollaway — Texas
George House, Jr. — Texas
Charles N. Howell — Texas
Debbie S. Howell — Texas
Derek L. Hudspeth — Texas
Jimmie L. Hutchings — Texas
Phuoc V. Huynh — Texas
Eleazar Ibarra — Texas

James C. Ivey — Texas

Billy R. Jack — Texas

Calvin Jackson — Texas

Ellen D. Jackson — Texas
Joseph T. Jackson — Texas
Stanley C. Jackson — Texas
Ricky A. Jacobs — Texas
Charles W. James — Texas
Bill Jamison — Texas

Kathy J. Jamison — Texas
Keithan Jelks — Texas

Arnita Johnson — Texas
Lonnie Johnson — Texas
Patrick P. Johnson — Texas
Joseph L. Jolivette — Texas
Louis W. Kadlecek — Texas
Martin A. Kain, Jr. — Louisiana
Johnie Kinlaw — Texas

Ben Lackey, Jr. — Texas
Ronald J. Lake — Texas
Nguyen Lan — Louisiana
Whitney J. Lastrap, Jr. — Texas
Nikkie Lea — Texas

Joseph L. LeDoux — Texas
Juan M. Leija — Texas

James W. Livingston — Texas
Earl C. Lyman, Jr. — Houston
Troy D. Maddox — Texas

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Walter L. Mallett — Texas

Lino L. Martinez, Jr. - Texas
Fernando Mata — Texas
Adam B. Nabb — Alabama
Lucienne S. Nabb — Alabama
Phillip S. Nabb, Jr. — Alabama
Mai Thi Nguyen — Texas
Trinh V. Nguyen — Florida
Vanmony Oeur — Texas
William L. O’Neal — Texas
Shawn L. Pachlhofer — Texas
Harold W. Peavler — Texas
Antonio Perez, Jr. — Texas
Alphouse Perry-Wiggins — Texas
Ronnie E. Porter — Texas
Gay N. Rains — Texas

Donna L. Rice — Texas
Patrick L. Rideaux — Texas
Samuel M. Rutherford — Texas
Earl Sadberry — Texas
Cynthia L. Sensat — Louisiana
Sarah Sikes — Texas

Nancy B. Tabb — Texas
Phillip E. Tabb, Jr. - Texas
Barbara L. Turner - Texas
Robert Turner — Texas

Daniel Uribe — Texas

Brittany Vacek — Texas

Cody Vacek — Texas

Daryl W. Wade — Texas

Dale E. Weaver — Texas
Anna M. Yarbrough — Texas
Mark Yarbrough — Texas
Efrain J. Zamudio - Texas

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CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor SOD the filing and service of pleadings or other papers as required by law, except as provided

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by local rules of court. This form, approved by the Judicial Conference of the United

the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I. (a) PLAINTIFFS
Patrick Bedford, et

(b) County of Residence of F

al.

irst Listed Plaintiff Harris

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorney’s (Firm Name, Address, and Telephone Number)

Bradley W. Hoover, The Mills Law Firm, 11000 Brittmoore Park

Drive, Ste 200, Houston, TX_77041 (713) 893-4581

II. BASIS OF JURISDICTION

(Place an “X” in One Box Only)

 

DEFENDANTS
BP p.l.c.

Attorneys (If Known)

 

(For Diversity Cases Only)

County of Residence of First Listed Defendant

tates in September 1974, is required for the use of the Clerk of Court for the purpose of initiating

Foreign

(IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVED,

Il. CITIZENSHIP OF PRINCIPAL PARTIES (lace an “X” in One Box for Plaintiff

and One Box for Defendant)

DEF

 

 

 

 

 

 

 

 

 

 

 

 

 

 

O01 U.S, Government B43 Federal Question PTF DEF PTF
Plaintiff (U.S. Government Not a Party) Citizen of This State o1 0 1 Incorporated or Principal Place o4 O04
of Business In This State
O2 US, Government 0 4 Diversity Citizen of Another State O 2 © 2 Incorporated and Principal Place qgo5 05
Defendant (Indicate Citizenship of Parties in Item III) oii sins alin Sno tneg eats
Citizen or Subject ofa o3 O 3. Foreign Nation oc O86
Foreign Country
IV. NATURE OF SUIT (Place an “Xx” in One Box Only)
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OT TUTE
C 110 Insurance PERSONAL INJURY PERSONAL INJURY | 610 Agriculture O 422 Appeal 28 USC 158 O 400 State Reapportionment
(1 120 Marine O 310 Airplane 362 Personal Injury - 0 620 Other Food & Drug 1 423 Withdrawal 0 410 Antitrust
1 130 Miller Act O 315 Airplane Product Med. Malpractice 0 625 Dnug Related Seizure 28 USC 157 O 430 Banks and Banking
O 140 Negotiable Instrument Liability 1 365 Personal Injury - of Property 21 USC 881 O 450 Commerce
0 150 Recovery of Overpayment | 320 Assault, Libel & Product Liability GC 630 Liquor Laws TY O 460 Deportation
& Enforcement of Judgment Slander (1 368 Asbestos Personal 0 640 R.R, & Truck 1 820 Copyrights O 470 Racketeer Influenced and
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1 152 Recovery of Defaulted Liability Liability 0 660 Occupational 0 840 Trademark O 480 Consumer Credit
Student Loans © 340 Marine PERSONAL PROPERTY Safety/Health O 490 Cable/Sat TV
(Excl, Veterans) Ol 345 Marine Product O 370 Other Fraud O 690 Other C1 810 Selective Service
O 153 Recovery of Overpayment Liability O 371 Truth in Lending LABOR SOCIAL SECURITY O 850 Securities/Commodities/
of Veteran’s Benefits O 350 Motor Vehicle O 380 Other Personal 0) 710 Fair Labor Standards O 861 HIA (1395ff) Exchange
0 160 Stockholders’ Suits O 355 Motor Vehicle Property Damage Act O 862 Black Lung (923) O 875 Customer Challenge
0 190 Other Contract Product Liability 1 385 Property Damage 0 720 Labor/Mgmt, Relations 0 863 DIWC/DIWW (405(g)) 12 USC 3410
0 195 Contract Product Liability |} 360 Other Personal Product Liability O 730 Labor/MgmtReporting |f 864 SSID Title XVI FI 890 Other Statutory Actions
© 196 Franchise Injury _ & Disclosure Act O 865 RSI (405( 891 Agricultural Acts
[ REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS _|0) 740 Railway Labor Act FEDERAL TAX SUITS [ 892 Economic Stabilization Act
0 210 Land Condemnation O 441 Voting I =510 Motions to Vacate | 790 Other Labor Litigation 1 870 Taxes (U.S. Plaintiff © 893 Environmental Matters
0 220 Foreclosure O 442 Employment Sentence O 791 Empl. Ret. Inc. or Defendant) © 894 Energy Allocation Act
7 230 Rent Lease & Ejectment | 443 Housing/ Habeas Corpus: Security Act © 871 IRS—Third Party O 895 Freedom of Information
0 240 Torts to Land Accommodations [530 General 26 USC 7609 Act
0 245 Tort Product Liability O 444 Welfare (I 535 Death Penalty IMMIGRATION (4 900Appeal of Fee Determination
1 290 All Other Real Property | 445 Amer. w/Disabilities - [7 540 Mandamus & Other | 462 Naturalization Application Under Equal Access
Employment I 550 Civil Rights 0 463 Habeas Corpus - to Justice
O 446 Amer. w/Disabilities - | 555 Prison Condition Alien Detainee 1 950 Constitutionality of
Other 0 465 Other Immigration State Statutes
© 440 Other Civil Rights Actions

 

 

 

 

 

 

 

V. ORIGIN (Place an “X” in One Box Only) Appeal to District
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Proceeding State Court Appellate Court Reopened (epee ‘ istric Litigation Talon oh
Cite tl |S, Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
Af BRAS Z2f 15" et seq. ui B ( j m7

VI. CAUSE OF ACTION

VII. REQUESTED IN
COMPLAINT:

 

Brief description of cause:

 

( CHECK IF THIS IS A CLASS ACTION
UNDER F.R.C.P. 23

VII. RELATED CASE(S)

(See instructions):

Damages for a claim under the O1l Pollution Act of 1990

DEMAND $

CHECK YES only if demanded in complaint:

JURY DEMAND:

 

O Yes (No

 

IF ANY JUDGE = Carl J. Barbier DOCKET NUMBER MDL 2079 (E.D. LA)
DATE SIGNATURE OF ATTORNEY OF RECORD
03/05/2012 /s/ Bradley W. Hoover

 

FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

APPLYING IFP

JUDGE

MAG, JUDGE

SS
